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Time ULM cele arse conamce MSC Tab Lame Uc Mera tsa

United Stetes Bankrupicy Court for the:

Central District of California

Casa number (mown:

(Gd Check If this is an
amendad filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 08/22

If more space Is needed, attach a separate sheet ta this form, On the top of any additionaf pages, writa the debtor's name and the case
number (if known), For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is avallable.

4, Debtor's name The Litigation Practice Group P.C.

2. AH other names debtor used
in the last 8 years

Include any agsumed names,
trade names, and doing business
as names

3. Debtor's federal Employer 83 - 3885343
Identification Numbar (EIN) TT TT

4. Debtor's address Principal place of business Malling address, If different from principal place
of business

17542 17th St, Ste 100

Number Street Number Street
P.O. Box
Tustin CA 92780 Tustin
Gity State ZIP Code Chy State ZIP Code

Location of principal assets, Hf different from
principal place of business

Number Street

5. Debtor's website (URL)

Officfat Farm 204 Voluntary Petttion for Non-individuais Filing for Bankruptcy page 1
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Debtor ae Litigation Practice Group P.C. Case number or inoan,

4 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
() Parinersiip (exciuding LLP}
C) other. Specify:

A. Check one:

& Type of debtor

7. Describe debtor's business
C2 Haalth Gare Business {as defined in 14 U.S.C. § 101(27A)}

C1 Single Assol Real Estate (as defined in 14 U.S.C, § 101(51B))
CO] Raroad (as definad in 11 U.S.C. § 101(44})

O) Stockbroker {as defined in 14 U.S.C. § 101(53A))

C) commodity Broker (as defined In 14 U.S.C. § 104(8))

C1 Clearing Bank (as defined in 11 U.S.C, § 781{3))

Nane of the above

B. Check all that apply:

(J Tax-exempt entity (as described in 26 U.S.C. § 601)

CO) investment company, inchkeding hedge fund or poolad investment vehicle (as defined in 15 U.S.C,
§ 80a-3)

©] Investment advisor (as defined in 15 U.S.C. § BOb-2{aX71))

C. NAICS (North American Indusiry lotion System) 4-digit code thal best describes debtor. See
hitod Avww.uscouris.qov/four-digit-nattan.

8. Under which chapter oft the Check one;

Bankruptcy Code js the
debtor filing? QO) Chanter 7

T chapter 9
i dioxin teradeascllt © chapter 11. Check all that apply:
ba crumcheee tative o O The debtor is a smalt business debtor as defined in 11 U.S.C. § 101(61D), and its
box. A debtor as defined In aggragate noncorlingent liquidated debts (excluding dabts owed to insiders or
§ 1182(1) who alects to procead affiliates) are leas than $3,024,726. If this sub-box is selected, attach lhe most
under subshapter V of chapter 11 recent balance sheat, statement of operations, cash-flow statemanl, and federal
(wheather or not the debtor is a income tax return or If any of these documents do not exist, follow the procedure in
“small business debtor") must 11 U.S.C. § 1118(1)8).
chack the second sub-box. (2 The debtor ja a debtor as defined in 11 U.S.C, § 1192¢4), its aggregate

noncontingent liquidated debits (exchwing debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to procead under Subchapter ¥ of
Chapter 11. If this sub-box is selected, altach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax retum, or if
any of these documents do not exist, follow the procedure in 11U.S.C_

§ 4116(1)(B).

Q) A plan Is beng fled with this petiton.

(} Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

CF the debtor ts required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15{d) of tha Securities
Exchange Act of 1934. File the Ailachmant to Voluntary Pelitian for Non-lndividuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C) The debtor is a shell company as defined in the Securftias Exchange Act of 1934 Rule
12b-2.

C Chapter 12

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Devtor The Litigation Practice Group P.C. Case nuinber snot,
Nene
9, Were pricr bankruptcy cases id No
filed by or against the dabtor
Cl Yes. district When Case number
within the last 8 years? ET
Hf more than 2 cases, attach a
Disiict When Case number
separate list. auDET
te. Are any bankruptcy cases [id No
pending or belng filed by a a
business partner or an Cl Yes. Cebior Relotionship
affillate of the debtor? District When
Ust all cages. if more than 1, MM f DD IYYvY
atiach a separala list. Case number, if known
14, Why is the case filedIn this = Check all that apply:

district?

@) Dabtor has had its domicile, principal place of business, or principal assets in this district for 180 days

Immediately preceding the dete of this petition or for a longer part of such 180 days than in any other

district,

Oa bankruptcy case concerning debtor's affiliate, general partner, of parinership is pending In this disirict.

12, Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

id No
(C1 Yas. Answar below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need Immediate attention? (Chock af that apply.)

CO it poses or is alleged to pose a threat of imminent and Identifiable hazard to public haalth or safety.

What is the hazard?

CI it neads to be physically secured or protected from the weather

CZ) it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for exemple, livestock, seasonal goods, meat, dairy, produce, or securities-relaled

assats or other options),
C) Other

Where Is the property?

Number Sirest

City

ds the property Insured?

O] No
Ci Yes. Insuranco agency

State ZIP Code

Contact name

Phone

a Statistical and administrative Information

“Official Form 204

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tet The Litigation Practice Group P.C. Cee imiribet Genome
Nene
43, Debtor's estimation of Check one:
available funds lid Funds wil be available for distribution to unsecured creditors.
CO) Atter any administrative expenses are pald, no funds will be available for distribution to unsecured creditors,
C3 1-49 CF 1,000-5,000 J 26,001-50,000
14. Esceaes number of ) 50-99  5,004-10,000 (3 50,001-100,000
creehore CJ 100-199 © 10,001-25,000 © More than 100,000
(I 200-999
Q $0-$60,000 2) $4,000,004-$1¢ million CT $500,000,001-$1 billion
15. Estimated assets (2 $50,001-8100,000 2 $10,000,001-$50 million 2 $1,000,000,001-$19 billion
CT] $100,001-$500,000 Q) $50,000,001-$100 mition C2 $10,000,000,001-$80 billion
UL] $500,001-$1 mittion CQ) $100,000,001-$800 million (2 More than $60 billion
CG $0-$50,000 C2 $4,000,001-$10 milion Q $500,000,004-$4 billion
1 Painted lig lies Q $60,001-8100,000 O22 $10,000,001-§50 million (2 $4,000,000,001-$10 bition
(CQ) $100,001-$500,c00 (2 $50,000,001-$106 million O $10,000,000,004-850 biltion
CO) $500,001-$4 million G2 $100,000,001-$500 million QO More than $50 billion

a Request for Rolief, Declaration, and Signatures

WARNING -- Bankruptcy fraud 's a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$600,000 or imprisonment for up to 20 yaars, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3574.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of tItle 11, United States Code, specified in this
authorized reprasentative of
petition.
debtor

| have been authorized to file this petition on behalf of the debtor,

| have examined the information in this petition and have a reasonable bellef that the Information is true and
correct.

| declare under penalty of parjury that the-Spregoing is true and correct.

Danlel S. March
Printed name.

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The Litigation Practice Group P.C.

Name

48. Signature of attorney

Gase number (7 mows,

Dete _ 03/23/2023

_.)
Snape poroy for debtor Y

doon M. Khang

MM fDD IYYYY

Printed name

KHANG & KHANG LLP

Firm name
4000 Barranca Parkway, Suite 250

Number Street

Irvine CA 92604
City Stats ZIP Code
(949) 419-3834 joon@khanglaw.com
Contact prone Email address

488722 CA

Bar number Slale

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